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     The People of the State of Colorado, Petitioner  v.  Isaac U. Mion. Respondent No. 24SC2Supreme Court of Colorado, En BancAugust 19, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 21CA1230
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari GRANTED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      the court of appeals erred in adopting a rule that does not
      require defendants to provide some evidence of innocent
      mistake when invoking the affirmative defense of involuntary
      intoxication.
    